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Attorney for Defendant
MITCHELL CHANG




                     IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                           Case No. 2:08-cr-00544-GEB-1
             Plaintiffs,                            STIPULATION AND ORDER
                                                    (PROPOSED)

MITCHELL CHANG,
           Defendant.
_______________________________________/




             It is hereby stipulated and agreed to by the United States of America
through OLUSERE OLOWOYEYE, Assistant United States Attorney, and defendant
MITCHELL CHANG, by and through his attorney, DONALD MASUDA, that the
sentencing hearing set for Friday, August 15, 2014, be continued to Friday, October 24,
2014, at 9:00 a.m.
             Further, the parties agree and stipulate that a hearing for modification of
the plea agreement be set for Friday, August 15, 2014, at 9:00 a.m. This hearing is being
requested because the original plea agreement that the United States of America and Mr.
Mitchell Chang entered into on March 21, 2014, was erroneous as it was not made in
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________________________________________________________________________
STIPULATION AND ORDER
reference to the correct charging pleading. While the terms of the agreement will not be
altered, the basis for the plea must be corrected.
Dated: July 16, 2014
                                           Respectfully submitted,


                                           /s/ Donald Masuda
                                           DONALD MASUDA
                                           Attorney for Defendant
                                           MITCHELL CHANG

                                           /s/ Donald Masuda for
                                           OLUSERE OLOWOYEYE
                                           Assistant U.S. Attorney




                                          ORDER
               Based upon the stipulation of the parties and good cause there appearing
therefrom, the Court hereby finds that it is necessary to conduct a hearing to correct the
plea agreement that was entered into on March 21, 2014. The parties are to appear for
hearing on the modification of the plea agreement on Friday, August 15, 2014, at 9:00
a.m. Further, the sentencing on the corrected plea agreement is reset to October 24, 2014,
at 9:00 a.m.
Dated: July 29, 2014
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STIPULATION AND ORDER
